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&lt;p&gt;&lt;font size="+1"&gt;&lt;strong&gt;&lt;center&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/font&gt;&lt;/center&gt;
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&lt;center&gt;NO. 03-&lt;a name="1"&gt;00&lt;/a&gt;-00&lt;a name="2"&gt;229&lt;/a&gt;-CR&lt;/center&gt;
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&lt;center&gt;&lt;a name="3"&gt;Gerald Mayo&lt;/a&gt;, Appellant&lt;/center&gt;
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&lt;p&gt;&lt;strong&gt;&lt;center&gt;v.&lt;/center&gt;
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&lt;p&gt;&lt;strong&gt;&lt;center&gt;The State of Texas, Appellee&lt;/center&gt;
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&lt;center&gt;FROM THE DISTRICT COURT OF &lt;a name="4"&gt;DALLAS&lt;/a&gt; COUNTY, &lt;a name="5"&gt;195TH&lt;/a&gt; JUDICIAL DISTRICT&lt;/center&gt;
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&lt;p&gt;&lt;strong&gt;&lt;center&gt;NO. &lt;a name="6"&gt;F-9402790-SN&lt;/a&gt;, HONORABLE &lt;a name="7"&gt;JOHN NELMS&lt;/a&gt;, JUDGE PRESIDING&lt;/center&gt;
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&lt;/strong&gt;In December 1994, appellant Gerald Mayo was placed on deferred adjudication
community supervision after pleading guilty to retaliation.  &lt;em&gt;See&lt;/em&gt; Tex. Penal Code Ann. &amp;#167; 36.06
(West Supp. 2001).  In March 2000, appellant pleaded true to the allegations in the State's motion
to adjudicate.  The district court revoked supervision and adjudicated appellant guilty.  The court
then assessed punishment, enhanced by two previous felony convictions, at imprisonment for
twenty-five years.

&lt;p&gt;Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of &lt;em&gt;Anders v. California&lt;/em&gt;, 386 U.S.
738 (1967), by presenting a professional evaluation of the record demonstrating why there are no
arguable grounds to be advanced.  &lt;em&gt;See also&lt;/em&gt; &lt;em&gt;Penson v. Ohio&lt;/em&gt;, 488 U.S. 75 (1988); &lt;em&gt;High v. State&lt;/em&gt;,
573 S.W.2d 807 (Tex. Crim. App. 1978); &lt;em&gt;Currie v. State&lt;/em&gt;, 516 S.W.2d 684 (Tex. Crim. App.
1974); &lt;em&gt;Jackson v. State&lt;/em&gt;, 485 S.W.2d 553 (Tex. Crim. App. 1972); &lt;em&gt;Gainous v. State&lt;/em&gt;, 436 S.W.2d
137 (Tex. Crim. App. 1969).  A copy of counsel's brief was delivered to appellant, and appellant
was advised of his right to examine the appellate record and to file a pro se brief.  No pro se brief
has been filed.

&lt;p&gt;We have reviewed the record and counsel's brief and agree that the appeal is
frivolous and without merit.  We find nothing in the record that might arguably support the appeal.

&lt;p&gt;The judgment of conviction is affirmed.

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&lt;p&gt;				&lt;u&gt;                                                                        &lt;/u&gt;

&lt;p&gt;				Lee Yeakel

&lt;p&gt;Before Chief Justice Aboussie, Justices Yeakel and Patterson

&lt;p&gt;Affirmed

&lt;p&gt;Filed:   February 1, 2001

&lt;p&gt;Do Not Publish 
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